Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23   Page 1 of 71 PageID 9498




                            EXHIBIT 46




                                                                  Appx. 00917
       Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                                                   Page 2 of 71 PageID 9499
                                                                                                                                    Claim #133 Date Filed: 4/8/2020

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                          04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  CLO Holdco, Ltd.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page                                                                CLO Holdco, Ltd.
   creditor be sent?                                                                                             Grant Scott, Director
                                 Name                                                                             Name
                                                                                                                 Myers   Bigel P.A.
    Federal Rule of                                                                                              4140 Park Lake Ave., Ste 600
    Bankruptcy Procedure         Number          Street                                                           Number    Street
    (FRBP) 2002(g)                                                                                               Raleigh, NC 27612, United States
                                 City                                State                 ZIP Code              City                           State                  ZIP Code

                                 Contact phone       214-777-4200                                                Contact phone

                                 Contact email       jkane@krcl.com                                              Contact email   gscott@myersbigel.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                    Filed on
                                                                                                                                                  MM     /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                      page 1

                                                                                                                                                        Appx. 00918
      Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                                  Page 3 of 71 PageID 9500
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ 11,340,751.26                              . Does this amount include interest or other charges?
                                                                                      No

                                                                                 ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 Participation and Tracking Interests in investment funds


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 00919
       Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                                                   Page 4 of 71 PageID 9501
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Grant Scott
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Grant Scott
                                                             First name                             Middle name                            Last name

                                  Title                      Counsel
                                  Company                    CLO Holdco, Ltd.
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City
                                                                                                                 ¨1¤}HV4           State

                                                                                                                                   Email
                                                                                                                   1934054200408000000000046
                                                                                                                                                     ZIP Code




                                                                                                                 $( N=«
 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 00920
   Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                        Page 5 of 71 PageID 9502
                                          KCC ePOC Electronic Claim Filing Summary
                                     For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
              19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                         Has Supporting Documentation:
               CLO Holdco, Ltd.                                                Yes, supporting documentation successfully uploaded
                Kane Russell Coleman Logan PC, John J Kane               Related Document Statement:
                901 Main Street, Suite 5200
                                                                         Has Related Claim:
                Dallas, TX, 75202                                               No
                United States                                            Related Claim Filed By:
                Phone:
                                                                         Filing Party:
                214-777-4200
                Phone 2:                                                        Authorized agent

                Fax:
                214-777-4299
                Email:
              jkane@krcl.com
       Disbursement/Notice Parties:
              CLO Holdco, Ltd.
              Grant Scott, Director
              Myers Bigel P.A.
              4140 Park Lake Ave., Ste 600
                Raleigh, NC, 27612
                United States
                Phone:
                Phone 2:

                Fax:
                E-mail:
                gscott@myersbigel.com
                DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                                No
                                                                         Acquired Claim:
                                                                                No
       Basis of Claim:                                                   Last 4 Digits:          Uniform Claim Identifier:
              Participation and Tracking Interests in investment funds          No
       Total Amount of Claim:                                            Includes Interest or Charges:
              11,340,751.26                                                      Yes
       Has Priority Claim:                                               Priority Under:
              No
       Has Secured Claim:                                                Nature of Secured Amount:
            No                                                           Value of Property:
       Amount of 503(b)(9):                                              Annual Interest Rate:
            No
                                                                         Arrearage Amount:
       Based on Lease:
             No                                                          Basis for Perfection:
       Subject to Right of Setoff:                                       Amount Unsecured:
              No
       Submitted By:
              Grant Scott on 08-Apr-2020 4:01:05 p.m. Eastern Time
       Title:
            Counsel
       Company:
                CLO Holdco, Ltd.



VN: 40FC9A02F31BC75088D8C008E639294D
                                                                                                                   Appx. 00921
              Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                                          Page 6 of 71 PageID 9503
  Fill in this information to identify the case:

  Debtor 1              Highland Capital Management, L.P.
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Northern District of of
                                                      District    __________
                                                               Texas

  Case number            19-34054-sgj11
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      CLO   Holdco, Ltd.
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Kane Russell Coleman Logan PC, John J Kane
                                      _____________________________________________________                       CLO Holdco, Ltd., Grant Scott, Director
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     901 Main Street, Suite 5200
                                      ______________________________________________________                      Myers Bigel P.A., 4140 Park Lake Ave., Ste 600
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Dallas                     TX           75202
                                      ______________________________________________________                       Raleigh                   NC           27612
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone     214.777.4200
                                                       ________________________                                   Contact phone   ________________________

                                      Contact email     jkane@krcl.com
                                                        ________________________                                  Contact email   gscott@myersbigel.com
                                                                                                                                  ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔
                                         No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                             page 1
                                                                                                                                              Appx. 00922
           Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                             Page 7 of 71 PageID 9504
 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                         11,340,751.26 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                             No
                                                                            ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                            
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Participation and Tracking Interests in investment funds
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
                                                                                                                                  Appx. 00923
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                                                                  Appx. 00924
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                                       SUMMARY OF PROOF OF CLAIM

Debtor(s):       Highland Capital Management, L.P. (the “Debtor”)

Case Info:       19-34054-sgj11; United States Bankrutpcy Court, Northern District of Texas, Dallas Division

Creditor:        CLO Holdco, Ltd. (“CLO”)



A.      CLO’s Proof of Claim
         1.       Claim Amount. CLO files this Proof of Claim in the amount of $11,340,751.26, which
evidences the amount of CLO's claim against the Debtor as of October 16, 2019 (the "Petition Date").
CLO's claim consists of participation interests and tracking interests in shares of certain funds, evidenced by
certain transfer documents attached to this Summary. Below is a summary statement of accounts provided
by the Debtor to CLO on October 24, 2019:




CLO understands that certain Arbitration Awards beneficial to the Crusader Funds would materially
increase the value of CLO's participation and tracking interests. Accordingly, CLO's claim may materially
increase. As CLO's claim is tied to the value of its participation interests, CLO's recovery cannot be limited
to the face amount of its claim as of the Petition Date.

        2.       Supporting Documentation. The total amount due and owing as of the Petition Date is
evidenced by the following supporting documentation:

                 a.       The Statement of Accounts provided above;

                 b.       Debtor's List of Largest Unsecured Creditors;

                 c.       Excerpt of Debtor's Schedules; and

                 d.       Participation Interest and Tracking Interest transfer documents detailing transfer
                          of ownership interests to CLO.

B.      Reservation of Rights
         By filing this Proof of Claim, CLO expressly reserves all of its rights to, among other things, amend
this claim, file an administrative expense claim, file a rejection claim, and seek attorneys' fees and interest as
allowed by law. If the Debtor objects to this Proof of Claim, CLO reserves the right to produce additional
documents and facts as necessary to support its claim. CLO also reserves the right to file a motion for relief
from stay or other pleading to enforce its right to the proceeds of certain funds in which CLO owns a
participation or tracking interest.


                                                                                         7525392 v1 (72268.00002.000)
                                                                                                  Appx. 00925
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               ATTACHMENT B




                                                                  Appx. 00926
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                      Case 19-12239-CSS
                               Doc 3 Filed 12/04/19
                                             Doc 1 Filed
                                                    Entered
                                                         10/16/19
                                                            12/04/19
                                                                   Page
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                                                                         1 of 16 Page 1 of 16




United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Gase number prenown~                                                      Chapter     11
                                                                                                                      ❑ Check if this an
                                                                                                                        amended filing




Qfficial Form 201
Voluntary Petition for Eton-Individuals Filing for Bankrupficy                                                                                      4„~
If more space is needed, attach a separate sfieet to thts farm. Qn the top of any additional pages, writs trig debtor's name and case number(if known).
For more infbrmatian, a separate document, lnafrucifons for Bankruptcy dorms for Non-lndiv/duafs, is availaiiie.


1.    Rebtor's name               Highiand Ca~tai Management L.P.

2.    Ali other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer tdentlflcatlon    XX-XXXXXXX
      Number(EINj


4.    Debtor's address            Princip~t place of business                                  Mailing address, if different from principal place of
                                                                                               business

                                  30Q Crescent Court
                                  Suite 70Q
                                  Dallas,'CX 75201
                                  Number,Skreet, City, State & ZtP Code                        P.O. Box, Numbor, Street, City, State &ZIP Code         '~

                                  Qallas                                                       l.acation of principal assets, if different from principal
                                                            _.__                               place of business
                                  County
                                                                                                Number, Street, City, State &ZIP Code


 5.   Qebtor's websfte(URy        wtivw.hi~hlandc~


6.    Type of debtor              ❑ Cprporation (including Limited Liabil(ty Company(LLC} and Limited ~iabifity Partnership (LLP))
                                  ■ Partnership (excluding LAP}
                                  D Qthec Specify:     __                                                        _~




                                           Votuntary Petttian for Non-individuals filing for Bankruptcy                                            page 1
 Official form 201




                                                                                                                                     Appx. 00927
 Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                                              Page 12 of 71 PageID 9509

          Case 19-34054-sgj11
                     Case 19-12239-CSS
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                                            Doc 1 Filed
                                                   Entered
                                                        10/16/19
                                                           12/04/19
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                                                                        2 of 16 Page 2 of 16


Debtor                                                                                               Case number(i/known)
         Highland Capital Management, L.P.
         Name


7.   Describe debtor's business A. Check one.
                                       ❑ Heaith Care Business (as defined in 11 U.S.C.§ 101(27A))
                                       ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101{51 B))
                                       D Railroad {as defined in 11 U.S.C. § 101(44)}
                                       O Stockbroker {as defined (n 11 U.S.C.§ 101(53A)}
                                       Q Commodity Broker {as defined in 11 U.S.C.§ 101(6))
                                       D Giearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ■ None of the above

                                       e. Checkall.fhat-apply
                                       D Tax-exempt entity{as described in 26 U.S.C. §501)
                                       ❑ Investment company, includln~ hedge fund or pooled lnvestmeni vehicle (as defined in 15 U.S.C. §BOa-3)
                                       III investment advisor(as defined in 15 U.S.C. §80b-2(aj(11))

                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                          See http•tlwww uscourts qov/four-d3git-national-association-naics-codes.
                                               5259


8.   Under which chapter of tha        Gheck one:
     0ankruptcy Cods is the            ~ Chapter 7
     debtor filing?
                                       D Chapter 9
                                       ■ Chapter 11. Check ai!that apply.
                                                           p    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates}
                                                                are less than $2,725,625(amount subject to adJustment on 4!01122 and every 3 years after Ehat).
                                                           O    Thedeato~ is. a small business debtor as defined in 11 V.S.C. § 101(51 D). If the debta~ is a small
                                                                business debtor, aftach fhe.most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1146(9)(8).
                                                           D    A plan is being filed with this petition.
                                                           ❑    Acceptances of the plan were soifaited prepotition from one or more classes of credftors, in
                                                                accordance with i1. U.S.C. § 1126(b).
                                                           ❑    The debtor is required to 81e periodic reports-(for example, 10K and 10Qa with fhe Securities and
                                                                ~acchange Commission according to § 13or 15(d) of the Securities Exchange Act of 1934. ~(le the
                                                                attaahirient to Voluntary Petrtfon for Non-individuals Filing for 8ankrapfcy under Ghapfer 17
                                                                (Official Form 201Aj with ihis form.
                                                           D    The debtor is a shell company as defined in the Securities Exchange Aet of 1934 Rule 126-2:
                                       ❑ Chapter 12



9.   Were prior bankruptcy             ~ Na,
     Cases filed by or against
     tfie debtor within the last 8     ❑Yes.
     years?
     If more than 2cases, attach a                                                       When                               Case number
     separate list.                             District
                                                District                                 When                               Case number


10. Are any bankruptcy cases           ■ No
    pend{ng or being flied by a
    business partner or an             D YPs.
    affiliate of the de6tor7
     List all cases. If more than 1,                                                                                    Reiatiohship
     attach a separate list                     pebtor           __..
                                                District                                 1Nhen                          Case number, if known




                                               Voluntary Pet(tton for Non-indtviduats Filing for Bankruptcy                                               page 2
DffiGai Form 201




                                                                                                                                           Appx. 00928
 Case 3:21-cv-00881-X Document 138-46 Filed 07/14/23                                                             Page 13 of 71 PageID 9510

          Case 19-34054-sgj11
                     Case 19-12239-CSS
                              Doc 3 Filed 12/04/19
                                            Doc 1 Filed
                                                   Entered
                                                        10/16/19
                                                           12/04/19
                                                                  Page
                                                                    17:38:14
                                                                        3 of 16 Page 3 of 16



oeb~or   Highland Capital Management, L.P.                                                         Case number(u known)
         Jf'a'ma __._.----


71. Why Is the case filed in      Check alt that apply:
    this dfsfrlct?
                                  ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any otter district.
                                  ❑      A bankruptcy case eonceming debtor's afflllate, general partner, or partnership is pending in this district.

12. Does the debtor awn or        ■ No
    have possession of any
                                             Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal     D Yes.
    property that needs
    immediate attentlo~?                     Why does the property need immediate attention?(Check al! that apply.)
                                             C7 it poses ar is alleged to pose a threat of Imminent and identifiable hazard to public health or safety.
                                               What is the hazard?      ____.~          ~                      ~.____..._._..___
                                             O !t needs to be phys{cally secured or protected from the weather.
                                             Q It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, orsecurities-related assets or other options).
                                             D ether
                                             Where is the property?
                                                                              Number, Street, City, State &ZIP Code
                                             is the property Insured?
                                             O No
                                             O Yes. Insurance agency
                                                    Gankack name
                                                        Phone


         Statistical and administrative information              '

13. D'ebtor's estimation of                Check one:
    available funds
                                           ■Funds will be avaiEabie for d3stributfon to unsecured creditors.
                                           Q After any administrative expenses are-paid, na funds will be available fo unsecured creditors.

14. Estimated number of           ❑ 1-49                                          ❑ 1,000-5,000                               ❑ 25,001-50,000
    creditors                     D 50-99                                         D 5401-10,000                               ❑ 50,001-1DO,OQO
                                  D 1Q0-199                                       ❑ 10,001-25,000                             ❑More than100,000
                                  I~ 200-999


15, Estimated Assets              ❑ $p - $b0,000                                   ❑ $1,Q00,001 - $10 million                 D $500,D00.~01 - $1 billion
                                  D $50,Op1 - $100,000                             ❑ $10,OdQ,~01 - $5D million                ❑ $1,000,000,001 -X10 billion
                                  ❑ $100,Q01 - $5Q0,000                            D $54,Q00,001 - $100 million               ❑ $10,000,00Q,001 - $5Q bif(ion
                                    $500,001 - $1 milUan                           ■ $1Q~,~OQ,OQ1 - $500 million              O More than X50 billion


16. Estimated Uabifities       ~ Q $p - $50,000                                    ~ $1,000,001 - $i0 million                 ❑ ~w5Q~,000,001 - $9 billion
                                 O $50,001 - $100,00                               C7 $10,400,001 - $50 million               D $1,000,000,001 - $10 billion
                                 D $100,401 •$500,OD0                              ❑ ~50,000,Q01 - $100 million               D $10,000,000,001 - $5Q billion
                                 ❑ $500,001 - $1 million                           ■ $1t}0,040,fl01 -X500 million             Cl More than $50 billion




                                            Voluntary Petition for Non•lndividuals Filing far Bankruptcy                                                    page 3
 O~cial Form 201




                                                                                                                                             Appx. 00929
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Qebtor   Highland Capital Management, L.P.                              T                         Case number (ifknown)
         Name


         Request for Relief, Declaration, and Signatures

WARNING --Bankruptcy fraud is a serious crime. Making a false statementln connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 13A1, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of tiEle 11, UniEed States Code, specified in Phis petition.
    representative of debtor
                                 i have been authorized to file this pet(tian on behalf of the debtor.

                                  have examined the information in this petltion and,have a reasonable belief that the information is trued and correct.

                                 i declare under penalt of perj ry that.the foregoing is true and correct.

                                 Executed on       `~ ~~              ~~'
                                                   Mh /  / YY
                                                                                                         Strand At3visars, fnc., General Partner
                             X                                                                           by: James D. Dandera, President
                                 Signatu        authod       resentative of debtor                       Printed naEne

                                 Title




                             X                                                                            Qate ~~ ~/~~`~G~~
18. Signature of attorney
                                         ture of aktornay                                                        MMI DD l YYYY

                                    mes ~. O'Neill
                                 Printed name

                                 Pachulski Sfang Ziehi &Janes ALP
                                 Ffrm name

                                 S19 N. Market Street
                                 17th Floor
                                 Wilmington, RE 19899
                                 Number, Street, Gity, State &ZIP Cade

                                 Contact phone       ~4?»6~~-4'~~4               Email address        joneiilQpszjiaw.com

                                 4042 tiE                                                       ___
                                 Bar number and State




                                            Voluntary Patition Por Nnn•individuats Filing !or Bankruptcy                                                  page 4
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                                                                                                                                            Appx. 00930
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                                ACTION ~Y WRITTEN CO1~ISENT ~F
                                  THE SOLD G~lYEI2AI~ PARTNCR
                                                    or
                             HIGHLAND CAPITAL M:ANAGE1VIElVT, L.P.
                                 (a Delaware limited partnership)

             The undersigned, being the sole .general partner (the "General Partner"} of Highland
      Capital Maz~ageinent; L.P. (tl~e "Gozxi~any"), hereby takes the following actions and adopts tfie
      following resalutians:

                   WHEREAS, the General Partner, acting .pursuant to tl~e laws- of the State
             of Delaware, has considered the financial and operational aspects of the
             Company's business;

                     WHEREAS, the General Partner has reviewed the (listorical performance
             of the Company, the outlook for the Company's assets ar~d over~.11 performance,
             and the current and long-term liabilities of the Company;

                     WHEREAS, the General Partner has carefully reviewed and considered
             the materials presented to it by the rnanag8ment pf and the advisors to the
             Company regardi~lg the possible need to undertal~e a financial ar~d operational
             restructuring of the Company; end

                     WHEREAS, the General Partner has analyzed each Qf the financial and
             strategic alternatives available to the Catnpany, including those available on a
             consensual basis with the principal stakeholders of tl~e Connpany, and tf~e impacf
             of the foregoing on the Company's business ant! its stakeholders.

                     NOW, THEREFORE, BE ~T RESOLVED, that ,in t11e judgment of the
             General Partner, it is desirable acrd in the best interests of the Company, its
             creditors, partners, and other interested patties that a petition be filed by the
             Company seeking relief~nd~r~ t~~ provisions of chapter I1 of title 11 of 'the
             United States Code in the United- States Bankruptcy Gouc-~ for ttze District of
             Delawat~e;

                     RESOLVED, that the officers of the general Pa~~tner (each, an
             "AuthorizQd officer") be, and 0ach crf them. hereby- is, -authorized, empowered
             and directed on behalf of the Company to ~x~cute, verify acid ~l~ ail {petitions,
             schedules, lists, ai d other papers. or documents, and to take and perform any and
             alI further actiaEls and steps that any such Authorized Officer deems necessary,
             desirable and proffer in connection with the Company's chapter 11 case, with a
             view to the successful prosecutiozi of such case, including all actions and steps
             deemed by any such Authori~d Officer to be aeeessary or desirable to the
             develop, file and prosecute: to confirmation a chapter 11 }~laia and relateei
             disclosure stateme~~t;.




                                                                                               Appx. 00931
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                   RES4I~VED, that the Authorized Officers be, and each of them Hereby is;
           authorized, empowered and. directed, on behalf of the Company, to retain the law
           firm of Fachulski Stang Zieh(& 3ones LLP {"PSG&J")as bankeuptey counsel_ to
           represent and assist the Company in carrying; out. its duties. under• chap#er 11 of the
           Bankruptcy Code, and to take any and ali actions to adv~lce the Company's
           rights in connection therewith, and the Authot•ized Of~eers are hereby authorized
           and directed to execute appropriate retentiosi agceetx~ents, pay appropriate
           retainers prior to and immediately upon the,~ling of the bankruptcy, and to cause.
           to be filed an appropriate application for authority to refain ti7e set~vices of PSZ&J;

                   RESOLVED,that the Authorized Officers be, and each of them hereby is,
           authorized, empo~~vered and directed, o~~ behalf Qf tl~e Company, to retain anct
           employ Development Specialists; Inc. (".~.SI`"} to p~c~vid~ the Company with
           Bradley D. Sharp as chief restructuring officer ("~'RO"} and additional personnel
           to assist in the execution of the day to day duties as CRC?. The CRO, subject to.
           oversight of the General Partner will lead the Company's restructuring efforts
           along with the Company's advisors, and to take any a~1d all actions to adva~ice the
           Company's rights in connection thet~ewith, and the Authorized officers are hereby
           authorized and directed to execute appropriate retention agreements, pay
           appropriate retainers prior to and immediately upon the filing of the bantc~uptey
           petition, and to cause to be filed an appropriate application for autk~or ty to hire
           the CRO and Iiis affiliated firm, DSI;

                   I~ES(JLVED, that the Authorizer( {)~cers 6e, and- each of them hereby is,
           authorized, empowered and directed, on behalfof the Company; to employ any
           Uthe~• professionals necessary ~o assist the Company in carrying .out .its duties
           under the Bankruptcy Code; and in connection therewith, the Aufihc~rized Of~eers
           are hereby authorized and directed to execute appropriate t~etenCion agreements,
           pay appropriate retain~~•s prior to or:immediately upon the filing of the chapter 11
           case and cause to be filed appropriate applications with the bankruptcy court for
           authority to retain the services of any other professionals, as necessary, azlcl on
           such terms as are deemed -necessary, desirable and proper;.

                   RESOLVCD,that the Authorized Officers be, and each of them Hereby is,
           authorized, empowered and directed, ot~ behalf of the Company, to obtain post-
           pehition ~naricing and obtain permission to use exis~in~ cash collateral according
           to termis which may be negotiated by or on behalf at`the Company, and to enter
           into any guaranties and to pledge and grant_ liens on its assets as may be
           conteci~plated by or required under the terms o~ si~cl~ post-petition ~nan~i~~g or
           cash colIaCeral arrangement;. and in connection therewi~ll, the Authorized C~ffcers
           shall be, and each of them hereby is, hereby ac~tllari~ed, e~npowereci and directed;
           on behalf of the Company, to execute appropriate loan agreerr~ents, cash collateral
           agreements and related ancillary doeunnents;

                   g.ESOLVED, that the Authar'ized (~~ficers be, anti each of t~~ezn hereby is,
           autk~arized, empowered and directed, on E~eh~lf of t(e Corripany, to take any and
           all actions, to exeeitte, deliver, certify,. ale and/or reco~~d an.ci .perform any and all




                                                                                                        Appx. 00932
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            documents, agreements, instrui3lents, motions, affidavits, applications -for
            approvals or rulings of governmental ar regulatory authorities ar certificates and
            to take any and afl actions and steps deemed by any such Authorized Qf~cer to be
            necessary or desirable to carry out t(7e purpose and inte►~t o~ each of the foregoing
            resolutions and to effectuate a successful chapter l l case;

                   RESOLVED,that any and all actions heretofore taken by any Authorized
           (Jfficer in .the name and on behalf of the Company iri furtherance of the purpose
           and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
           confirmed, and approved in al( respects.


                                         [Signature pagesfollow)




                                                                                                Appx. 00933
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             IN WITNESS WHEREOF,the undersigned have duly executed this Written Consent as
      of October 7, 20i 9.

                                               STRAND ADVISORS,INC.
                                               .Sole General Partner of Higl~lanci Capital
                                                ManagemEnt, L.P,



                                                    .fames D. Dot~dero
                                                    Presidefit




                     SIGNff.TUliEPACE TQ 7fiG ACTION BY WRITTEN CONS.G'NT tIl?
               THG SOLE G~'N~.YtftL Pf(RTNL'R OF HIGHLAND CAPITAL 1tfiANtiGEh1~~'T, L;P.




                                                                                             Appx. 00934
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   Fill in this information to identify the case:

   Debtor name    HIGHLAND CAPITAL MANAGEMENT, L.P.
   United States Bankruptcy Court for the:    District of Delaware
                                                                                   (State)
                             19-                                                                                                                      Check if this is an
   Case number (If known):
                                                                                                                                                      amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                                                                                                              12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


   Name of creditor and complete             Name, telephone number,        Nature of the        Indicate if claim   Amount of unsecured claim
   mailing address, including zip            and email address of creditor claim                 is contingent,      If the claim is fully unsecured, fill in only unsecured
   code                                      contact                       (for example, trade   unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                           debts, bank loans,    disputed            claim amount and deduction for value of collateral or
                                                                           professional                              setoff to calculate unsecured claim.
                                                                           services, and
                                                                           government
                                                                           contracts)
                                                                                                                     Total claim, if    Deduction for      Unsecured claim
                                                                                                                     partially          value of
                                                                                                                     secured            collateral or
                                                                                                                                        setoff


1. Redeemer Committee of Terri Mascherin                                   Litigation            Contingent                                              $189,314,946.00
   the Highland Crusader                Tel: 312.923.2799                                        Unliquidated
   Fund                                 Email:                                                   Disputed
   c/o Terri Mascherin, Esq.            tmascherin@jenner.com
   Jenner & Block
   353 N. Clark Street
   Chicago, IL 60654‐3456
2. Patrick Daugherty                    Thomas A. Uebler    Litigation                           Contingent                                              $11,700,000.00
   c/o Thomas A. Uebler,                Tel: 302.468.5963                                        Unliquidated
   Esq.                                 Email:                                                   Disputed
   McCollom D'Emilio Smith              tuebler@mdsulaw.com
   Uebler LLC
   2751 Centerville Rd #401
   Wilmington, DE 19808
3. CLO Holdco, Ltd.                     Grant Scott           Contractual                                                                                $11,511,346.00
   Grant Scott, Esq.                    Tel: 919.854.1407     Obligation
   Myers Bigel Sibley &                 Email:
   Sajovec, P.A.                        gscott@myersbigel.com
   4140 Park Lake Ave, Ste
   600
   Raleigh, NC 27612




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                                                                                                                                             Appx. 00935
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              Name




4. McKool Smith, P.C.         Gary Cruciani           Professional               Contingent                           $2,163,976.00
   Gary Cruciani, Esq.        Tel: 214.978.4009       Services                   Unliquidated
   McKool Smith               Email:                                             Disputed
   300 Crescent Court, Suite gcruciani@mckoolsmith.
   1500                       com
   Dallas, TX 75201
5. Meta‐e Discovery LLC       Paul McVoy              Professional                                                    $1,852,348.54
   Paul McVoy                 Tel: 203.544.8323       Services
   Six Landmark Square, 4th Email:
   Floor                      pmcvoy@metaediscover
   Stamford, CT 6901          y.com
6. Foley Gardere              Holly O'Neil            Professional                                                    $1,398,432.44
   Holly O'Neil, Esq.         Tel: 214.999.4961       Services
   Foley & Lardner LLP        Email: honeil@foley.com
   2021 McKinney Avenue
   Suite 1600
   Dallas, TX 75201
7. DLA Piper LLP (US)         Marc D. Katz            Professional                                                    $994,239.53
   Marc D. Katz, Esq.         Tel: 214.743.4534       Services
   1900 N Pearl St, Suite     Email:
   2200                       marc.katz@dlapiper.com
   Dallas, TX 75201
8. Reid Collins & Tsai LLP    William T. Reid         Professional                                                    $625,845.28
   William T. Reid, Esq.      Tel: 512.647.6105       Services
   810 Seventh Avenue, Ste Email:
   410                        wreid@rctlegal.com
   New York, NY 10019
9. Joshua & Jennifer Terry Brian Shaw                 Litigation                Contingent                            $425,000.00
   c/o Brian P. Shaw, Esq. Tel: 214. 239.2707                                   Unliquidated
   Rogge Dunn Group, PC email:                                                  Disputed
   500 N. Akard Street, Suite shaw@roggedunngroup.
   1900                       com
   Dallas, TX 75201
10.NWCC, LLC                  Michael A. Battle       Litigation                 Contingent                           $375,000.00
   c/o of Michael A. Battle, Tel: 202.371.6350                                   Unliquidated
   Esq.                       Email:                                             Disputed
   Barnes & Thornburg, LLP mbattle@btlaw.com
   1717 Pennsylvania Ave
   N.W. Ste 500
   Washington, DC 20006‐
   4623
11.Duff & Phelps, LLC         David Landman           Professional                                                    $350,000.00
   c/o David Landman          Tel: 216.363.4593       Services
   Benesch, Friedlander,      Email:
   Coplan & Aronoff LLP       dlandman@beneschlaw.
   200 Public Square, Suite com
   2300
   Cleveland, OH 44114‐
   2378
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              Name




12.American Arbitration      Elizabeth Robertson,    Professional                                                     $292,125.00
   Association               Director                Services
   120 Broadway, 21st        Tel: 212.484.3299
   Floor,                    Email:
   New York, NY 10271        robertsone@adr.org
13.Lackey Hershman LLP       Paul Lackey             Professional                                                     $246,802.54
   Paul Lackey, Esq.         Tel: 214.560.2206       Services
   Stinson LLP               Email:
   3102 Oak Lawn Avenue, paul.lackey@stinson.co
   Ste 777                   m
   Dallas, TX 75219
14.Bates White, LLC          Karen Goldberg          Professional                                                     $235,422.04
   Karen Goldberg, Esq.      Tel: 202.747.2093       Services
   2001 K Street NW, North Email:
   Bldg Suite 500            karen.goldberg@batesw
   Washington, DC 20006 hite.com
15.Debevoise & Plimpton      Michael Harrell         Professional                                                     $179,966.98
   LLP                       Tel: 212‐909‐6349       Services
   c/o Accounting Dept 28th  Email:
   Floor                     mpharrell@debevoise.com
   919 Third Avenue
   New York, NY 10022
16.Andrews Kurth LLP         Scott A. Brister        Professional                                                     $137,637.81
   Scott A. Brister, Esq.    Tel: 512.320.9220       Services
   111 Congress Avenue, Ste Email:
   1700                      ScottBrister@andrewsku
   Austin, TX 78701          rth.com
17.Connolly Gallagher LLP Ryan P. Newell             Professional                                                     $118,831.25
   1201 N. Market Street     Tel: 302.888.6434       Services
   20th Floor                Email:
   Wilmington, DE 19801      rnewell@connollygallagh
                             er.com
18.Boies, Schiller & Flexner Scott E. Gant           Professional                                                     $115,714.80
   LLP                       Tel: 202.237.2727       Services
   5301 Wisconsin Ave NW Email: sgant@bsfllp.com
   Washington, DC 20015‐
   2015
19.UBS AG, London Branch Andrew Clubock              Litigation                  Contingent                           Unliquidated
   and UBS Securities LLC Tel: 202.637.3323                                      Unliquidated
   c/o Andrew Clubock, Esq. email:                                               Disputed
   Latham & Watkins LLP      Andrew.Clubok@lw.com
   555 Eleventh Street NW
   Suite 1000
   Washington, DC 20004‐
   130




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              Name




20.Acis Capital               Brian Shaw           Litigation                   Contingent                            Unliquidated
   Management, L.P. and Tel: 214. 239.2707                                      Unliquidated
   Acis Capital Management email:                                               Disputed
   GP, LLC                    shaw@roggedunngroup.
   c/o Brian P. Shaw, Esq. com
   Rogge Dunn Group, PC
   500 N. Akard Street, Suite
   1900
   Dallas, TX 75201




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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )   Chapter 11
                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                      )   Case No. 19-_____ (___)
                                                        )
                               Debtor.                  )
                                                        )

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


               Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation’s equity interests, or states that there are no entities to report
under FRBP 7007.1.


 None [check if applicable]

           Name:
           Address:




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                                                                                          Appx. 00939
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                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 )   Chapter 11
                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                     )   Case No. 19-_____ (___)
                                                       )
                              Debtor.                  )

                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:

           Name:           Strand Advisors, Inc.
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           The Dugaboy Investment Trust
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           Mark K. Okada
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           The Mark and Pamela Okada Family Trust – Exempt Trust #1
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           The Mark and Pamela Okada Family Trust – Exempt Trust #2
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           Hunter Mountain Investment Trust
           Address:        c/o Rand Advisors LLC
                           John Honis
                           87 Railroad Place Ste 403
                           Saratoga Springs, NY 12866

DOCS_SF:101987.5

                                                                                         Appx. 00940
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           Case 19-12239-CSS
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                                  Doc 1 Filed
                                         Entered
                                              10/16/19
                                                 12/04/19
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                     IN THE UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )   Chapter 11
                                                     )
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                  )   Case No. 19-_____ (___)
                                                     )
                              Debtor.                )
                                                     )

                        CERTIFICATION OF CREDITOR MATRIX


                Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
 for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
 (the “Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names
 and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor
 Matrix is complete, correct, and consistent with the Debtor’s books and records.

                 The information contained herein is based upon a review of the Debtor’s books
 and records as of the petition date. However, no comprehensive legal and/or factual
 investigations with regard to possible defenses to any claims set forth in the Creditor Matrix
 have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
 (1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
 any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




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 Debtor name         Highland Capital Management, L.P.

 United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

 Case number qtr known)
                                                                                                                               ❑ Check if this is an
                                                                                                                                 amended filing



 O~cial Form 202
 aecf~ra~ion Under Penalty. of Perjury for.Non-lndividua[ debtors                                                                                      12115


An lndlatduaf who is autharized to ac# on behalf of a non-fndividuai debtor, such as a corporation or partnership, must stgq and submit this
form foC fhe schedules of assefs and liabilities, any other document thaE requires a declaraflon that is not included in tha document, and any
amendments of those documents. This form must state the Individual's position or relationship to the debtor, the identity of the document,
and tha date. Bankruptcy Rules 1008 and 9011.

 WARiVING -• aankruptcy fraud is a serious crimes Mak{ng a false staEement, concealing property, or obtaining money or property by fraud fn
 connection with a bankruptcy case can result in fines up to 5500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. g§ 152, 1341,
 1598, and 3571.



                Declaration and signature


         am the president, another officer, pr an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of ttis debtor in this case.
                                                                                                                                        correct:
        1 have eacamined the information in the documents checked beipw and i have a reasonable belief that the informatlon is true and

        ❑         Sch€dule ,4/B: Assets--Real and Persona!Property (official Form 206AlB}
        ❑         Schedule D: Creditors Who Nave Claims Secured by Property (Official Form 2064)
        p         Schedule E/F: Creditors Who Have Unsecured Claims(O~cial Form 2Q6ElF)
        Q         ScHedute G: Executory Contracts and Unexpired Leases(Official Form 206G)
        []        Schedule H: Codebtors {Official Form 20fiN)
        Q         Summary of Assets and Liapilities for Non-individuals(O~cial Form 206Sum)
        p         Amended Schedule
        ~         Chapter 1? or Ghapfer9 Cases: LJst of Creditgrs Who Have the 20 Largest Unsecured Cialms and Are Not insfders (Ofticlal Form 204j
                  Qther document that requires a declaration   corporate Ownership Statement, Dist of Equity Hvtdecs, Creditor Matrix
                                                               Certification

        1 deoiare under penalty of perjury that the foregoing is true an             rrect.

         Executed ~n         ~~                                     X                              `~
                                                                        Signature o individual signing on behalf of debtor

                                                                          Frank Waterhouse
                                                                        Printed - name
                                                                         Treasurer of Strand Advisors, inc., General Partner
                                                                        Pos(tion or relationship to debtor




 Official Form 2~2                                           Declaration Under Penalty of Perjury #or Non•~ndividual Qebtars
                                                                                                                                            Best Case 8en4auptcy
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                                                                                                                                         Appx. 00942
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               ATTACHMENT C




                                                                  Appx. 00943
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         Case 19-34054-sgj11 Doc 247 Filed 12/13/19 Entered 12/13/19 22:32:34 Page 17 of 74
 Fill in this information to identify the case:

 Debtor name         Highland Capital Management, L.P.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)            19-34054-SGJ
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown       Unknown
           All Employees                                             Check all that apply.
           300 Crescent Ct.                                              Contingent
           Suite 700                                                     Unliquidated
           Dallas, TX 75201                                              Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Employee Wages & Bonuses
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                         Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           45 Employees
           300 Crescent Ct.                                                             Contingent
           Suite 700                                                                    Unliquidated
           Dallas, TX 75201                                                             Disputed

           Date(s) debt was incurred     2017, 2018 & 2019                         Basis for the claim:     Deferred Awards
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $5,758,166.67
           46 Employees
           300 Crescent Ct.                                                             Contingent
           Suite 700                                                                    Unliquidated
           Dallas, TX 75201                                                             Disputed

           Date(s) debt was incurred     2018                                      Basis for the claim:     Prior year employee bonuses
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 17
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                                                                                                                                                          Appx. 00944
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 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,155.00
          Centroid
          1050 Wilshire Dr.                                                      Contingent
          Ste #170                                                               Unliquidated
          Troy, MI 48084                                                         Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $155.81
          Chase Couriers, Inc
          1220 Champion Circle                                                   Contingent
          #114                                                                   Unliquidated
          Carrollton, TX 75006                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,340,751.26
          CLO Holdco, Ltd.
          c/o Grant Scott, Esq
          Myers Bigel Sibley & Sajovec, P.A.                                     Contingent
          4140 Park Lake Ave, Ste 600                                            Unliquidated
          Raleigh, NC 27612                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Contractual Obligation
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $198,760.29
          Cole Schotz
          Court Plaza North
          25 Main Street                                                         Contingent
          P.O. Box 800                                                           Unliquidated
          Hackensack, NJ 07602-0800                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:    See Exhibit A
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $52,500.00
          Coleman Research Group, Inc.
          120 West 45th St                                                       Contingent
          25th Floor                                                             Unliquidated
          New York, NY 10036                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,090.46
          Concur Technologies, Inc.                                              Contingent
          18400 NE Union Hill Road                                               Unliquidated
          Redmond, WA 98052                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $118,831.25
          Connolly Gallagher LLP
          1201 North Market Street                                               Contingent
          20th Floor                                                             Unliquidated
          Wilmington, DE 19801                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    See Exhibit A
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 17
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                                                                                                                                                   Appx. 00945
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               ATTACHMENT D




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